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UN|TED STATES DlSTR|CT COURT _.m£o mr

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MEMPHis oivisloN 05 JUL
"8 §HH: 1,3
uNlTEo sTATEs oF AMERicA mM
.v. 2:05cR20046-01-Ml 155/§ U5 1555 _EMQSM

CARLOUS BENTON
Randa|l Salky, CJA
Defense Attorney
266 South Front Street
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 27, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title a section Mo_f§_f_fm Offense wrist
Concluded
18 U.S.C. § 922(9) Possession of a Firearm by a 09/11/2003 1

Convicted Fe|on

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 and 3 are dismissed on the motion of the United States.
lT |S FU RTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/03/1982 July 7, 2005
Deft's U.S. Marshal No.: 20207-076

Defendant’s Mai|ing Address:
5352 Scottsdale Avenue

Memphis, TN 38118 {OM
)§»V ¢~
JON PH|PPS MCCALLA
U lTE STATES D|STR|CT JUDGE

July , 2005

 

is dw“,ument entered on the docket sheet in cornpllanss
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Case No: 2:05CR20046-01-N|| Defendant Name: Carious BENTON Page 2 of 4
|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 months (or 3 years and 1 month).

The Court recommends to the Bureau of Prisons: the defendant be allowed to
participate in the 500-intensive drug rehabilitation program while incarcerated.

The defendant is remanded to the custody of the United States Marshal.

RETI.IRN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:050R20046-01-M| Defendant Name: Car|ous BENTON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation ofticer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful aii inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shail submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controiled substances are iilegally soid, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:05CR20046-01-M| Defendant Name: Car|ous BENTON Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notitications and to confirm the defendant’s compliance with such
notihcation requirement

13. if this judgment imposes a Hne or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet cf this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the foltowing additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Ofiice.

CR|M|NAL MONETARY PENALTlES

The defendantsha|| paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500. unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00

The Special Assessment shall be due immediately
n FlNE
No fine imposed.
RESTITUT|ON

No Restitution was ordered.

ISTRIC COUR -WTER DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20046 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

Randali P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

i\/lemphis7 TN 38103

E. Greg Giiluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCaila
US DISTRICT COURT

